          Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 1 of 21




                                                                          RECEiVED
UNITED STATES DISTRICT COURT                                    Sou~ft%1JtsrtiET
                                                                       US DlSTH!CT OOURT SDNY
                                        OF NEW YORK
Kelly Price
                                                                                               ~
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(List the full name(s) of the plaintiff(s)/petitioner(s).)
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-against-                                                        15-CV-05871                     ..
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                                                                 NOTICE OF APPEAL


DETECTIVE LINDA SIMMONS Individually,
and as an employee ofthe New York City Police
Department, ADA MARIA STROHBEHN and
ADA KENYA WELLS Individually,
and as employees ofthe New York County                                 USDC SDNY
District Attorney's Office, THE CITY OF NEW YORK,                      DOCUMENT
Deputy DA Audrey Moore, ADA Larry Newman, ADA
Laura Higgins nee Richendorfer, DA Cyrus Vance Jr.,
                                                                       ELECTRONICALLY FILED
as employees of the New York County District,                          DOC #: _________________
Attorney's Office, Inspector Obe of the New Yor~ City
Police Department, in her capacity as an employee
                                                                       DATE FILED: _____________
                                                                                     Nov. 2, 2016

of the New York City Police Department,
 Rose Pierre-Louis in her capacity as the Former
 Commissioner of Domestic Violence of the
 City ofNew York, PO Matthew Winters, individually
 And in his capacity as an employee ofthe New York City
 Police Department, Jane andlor.John Doe Operator
 of Twitter account @NYPD28pct, Jane and/or John Doe Operator
 of Twitter account @NYCagainstAbuset, Jane and/or.John Doe Operator
 of Twitter account @RPLNYC,

 (List the full name(s) of the defendant(s}/respondent(s).)


 Notice is hereby given that the following parties:                    Kelly Price n(5sttne names of

 all parties who are filing an appeal)
           Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 2 of 21




in the above-named case appeal to the United States Court of Appeals
for the Second Circuit from the "judgment X order entered on: October
3, 2016 (date that judgment or order was entered on docket)

that:

   •       1. Han Judge Polk-Failla's order dated October 3, 2016 discusses the incorrBCt
           pleading document. I had received permission to file an amended complaint on or
           around September 15, 2016 and instead a version of my pleadings t11med in before I
           knew the extension was granted was worked on by Han Judge Polk-Failla. I request that
           the complaint filed on 9/16/2016 be considered as the operative pleading/ document the
           case will proceed with and that the Appeals Court assert the complaint filed on or about
           September 1, 2016 no longer be the operative pleading/document the case wiD proceed
           with. I have already filed a Notice of Appeal in an attempt to cure this clerical error.
   •       2. The order dated October 3, 2016 by Han Judge Polk-Failla strikes from my
           complaint actions I allege resulted from wrongful arrest, malicious prosecutions, various
           Section 1983 Civil Rights infringements and other constitutional via rations arising from
           arrests and malicious criminal proceedings that were dismissed and sealed by Han.
           Judge Tandra Dawson of NY Supreme Court on or about July 25, 2012 as untimely and
            beyond the statute of limitations. As my original filing was on July 2\4,2015, three years
            to the day after the charges were dismissed against me, these actions were filed
            appropriately within the statute of limitations and should not be stricken from my
            complaint. Han. Judge Preska only struck actions against the city and individuals named
            in my Second Amended Complaint that occurred BEFORE July 25, 2012 when criminal
            prosecutions against me for Felony Contempt of Court an 324 Counts of Aggmvated
            Harassment under the now defunct section of the NY State Penal Code (NYS 230.4C(1)
            were dismissed and sealed by NY State Supreme Court. Following,, al actions
            stemming from dismissal of charges on or about July 25, 2012 are stilt valid and not
            untimely and the relative defendants named in my caption and in myr complaint shouJd
            not be struck as per Han. Judge Polk-Failla's order.
       o    3. Federal Rules of procedure allow a Federal Judge to consider the exhibits attached
            to a Pro Se complaint if the articulation of actions by the complainant is insufficient. 11
            have attached exhibits that prove that a long pattern of conspiracy and state created
            danger has felled my life as a result of these willful and malicious actions undertaken by
            members of the NYPD and Manhattan District Attorney's office. In particular the affidavit
             1procured on December 15, 2015 by former NYPD Lt. Mark C Larocca states clearly that
             the MDAO instructed the NYPD to not assist me, to deny taking any complaints that l
            Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 3 of 21
"




            needed to file, and to essentially deny me all NYPD protections. My exhibits clearly
            illustrate this pattern and the court has room to consider these exhibits in lieu of sb'il<ing
            actions from my complaint.
    a       4. I have just learned about Conspiracy and State Created Danger Torts as of August,
            2016 after Han. Judge Preska graciously and kindly suggested in her 7/2612016 order
            that I examine Dwares and similar state created danger cases in the 2nd Circuit. The
            tolling on all Section 1983 claims begins when the defendant learned of the damages
            enacted on them. All parties related to the conspiracy to create danger for me should
            not be struck from my complaint as the statute of limitations began to toll at earliest on
            December 15, 2015 when I received Lt. LaRocca's affidavit stating that the Manhattan
            District Attorney's office instructed the NYPD to not provide me with police seJVices,
            protections, to take my complaints or to investigate them or tolling begins at latestt in
            August of 2016 when I learned of the Dwares case when reading Hon. Judge Preska's
            order dated 7/26/16.
    •       5. As I have repeatedly asked the the Mayor's office to combat DV, Former
             Commissioner of Domestic Violence Rose Pierre Louis, and Inspector Obe of the 28th
             Precinct to remove me from their twitter block list I have given them adequate notice of
             the constitutional harm. I have attached as exhibit to my filings to the Federal Court the
             311 reports I made to the City of New York complaining about both Inspector Obe., the
             Commanding Officer of the 28th precinct, and the former Commissioner of Domestic
             Violence's illegal and unconstitutional blocking of my twitter account from reading or
             responding to those respective twitter feeds. Both defendants, Rose Pierre-louis,.
             former Commissioner of the Mayor's Office to Combat Domestic Violence, and NVPO
             Inspector OBE were informed of the violation vis a vis the 311 complaint on       or about the
             Spring of 2015. Both the former and the latter have failed to remedy the wrong. I am to
             this day still blocked on all three twitter accounts. Additionally, after I was blocked I
             tweeted to all three accounts complaining of my blocking and both defendants still to the
             date of this filing have exhibited deliberate indifference to my rights by failing to act on
             information indicating that unconstitutional acts were occurring. Additionalfy l informed
             the NEW Commissioner for the Mayor's Office to Combat Domestic VIolence orally at a
              panel discussion held at Reverend Que English's Bronx Christian Fellowsltip Church on
              East Gunhill road in May of 2016 that I was still blocked by her office. This proceeding
              was video-taped and witnessed by dozens of members of the Mayor's Clergy
              Round-table. Still to date the unconstitutional blocking has continued. I also penned a
              letter directly to the Mayor's Office to Combat Domestic Violence complaining about this
              illegal twitter blocking. Accordingly, Insp. Obe and Rose Pierre-Louis should not be
              struck from my caption and action as individuals in light of this information.
        •     6. For actions related to my unlawful arrest by P.O. Matthew Winters on 9/27/2011 the
              tolling began when appeal was won which was on or about February 23, 2016. I filed a
              Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 4 of 21
.. .

              notice of claim within the appropriate three months and have filed my federal lawsuit
              within the statute of limitations. I don't understand why these actions are struck from my
              complaint nor why P.O. Winters, Relf, Maladano et al were excised off my complaint as
              per Hen. Judge Polk-Failla's order. I am unable to bring action until the proceedings
              terminated in my favor: which was on or about February 23, 2016. Additionally all three
               officers participated in creating state danger against me and should remain on the
               complaint as part of this conspiracy. I had no reason to know of my injuries until I won
               the appeal of conviction. I am a layperson and not a lawyer. I did not know if I was
               guilty of disorderly conduct until the NYS appellate panel affirmed my suspicions.. I did
               not know it was illegal to say "fuck you" to a police officer, I did not know it was illegal to
               cry and protest lack of police action. How would I know? I had never studied the NY
               State penal code nor had I read the NYPD handbook until the summer of 2015 •
          •
       (If the appeal is from an order, provide a brief description above of the decision in the olider.)

       The order published by Hen. Judge Polk-Failla struck many of my actions against indMduals
       from my complaint on the basis(es) of statute of limitations and facial insufficiency. I ask the
       Appellant panel to reconsider if the version of my complaint worked on was the appropriate one
       as I filed a further complaint after the one considered that I had permission to file. Because of a
       clerical error the incorrect complaint was passed to the newly assigned judge presiding over my
       case. I have entered a separate appeal of that order and now discuss the orders given> to me in
       consideration of the incorrect complaint being used as the working document. Each of those
       orders is considered here and I request that the Appellant anel re erse Hon. Judge
       Polk-Failla's orders commanding me to strike certain indi 'du I a                   ro~my complaint.

       November 2. 2016
       Dated

        Price. Kelly
        oName (Last, First, Ml)o

        Address: 534 W 187!!!. st #7, City: New York State: .NY Zip Code: 10033

        646 676 1940                                                            graciegracie212@gmail.com

        Telephone Number                                                        oE-mail Address (if available)

        ·Each party filing the appeal must date and sign the Notice of Appeal and provide his or her
        mailing address and telephone number, EXCEPT that a signer of a prose notice of appeal may
        sign for his or her spouse and minor children if they are parties to the case. Fed. R. App. P.
        3(c)(2). Attach additional sheets of paper as necessary. Rev. 12/23/13
       Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 5 of 21




UNITED STATES DISTRICT COURT SOUTHERN DISTRICT


                                       OF NEW YORK

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Kelly Price                                                                                           \'\1
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(List the full name(s) of the plaintiff(s)/petitioner(s).)

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-against-                                                        15-CV-05871


                                                                 MOTION TO PROCEED IN

                                                                 FORMA PAUPERIS ON APPEAl.
DETECTIVE LINDA SIMMONS Individually,
and as an employee of the New York City Police
Department, ADA MARIA STROHBEHN and
ADA KENYA WELLS Individually,
and as employees of the New York County
District Attorney's Office, THE CITY OF NEW YORK,
Deputy DA Audrey Moore, ADA Larry Newman, ADA
Laura Higgins nee Richendorfer, DA Cyrus Vance Jr.,
as employees of the New York County District
 Attorney's Office, Inspector Obe of the New York City
 Police Department, in her capacity as an employee
 ofthe New York City Police Department,
 Rose Pierre-Louis in her capacity as the Former
 Commissioner of Domestic Violence of the
  City ofNew York, PO Matthew Winters, individually
 And in his capacity as an employee of the New York City
 Police Department, Jane and/or.John Doe Operator
 of Twitter account @NYPD28pct, Jane and/or John Doe Operator
 of Twitter account @NYCagainstAbuset, Jane and/or.John Doe Operator
 of Twitter account @RPLNYC,
          Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 6 of 21




(List the full name(s) of the defendant(s)/respondent(s).)



I move under Federal Rule of Appellate Procedure 24(a)(1) forJeave to proceed in
forma pauperis on appeal. This motion is supported by the attached affidavit.


Dated   Gyta~~f}u~' Z,Qa\ ~
Price. Kelly
Name (Last, First, Ml)
534 W 1 87th st #7 NY NY 10033
Address




                                                             646.676.W!Q
                                                             City Telepbme Number



 in the above-named case appeal to the United States Court of Appeals
 for the Second Circuit from the 'Judgment X order entered on: October
 3, 2016 (date that judgment or order was entered on docket)

 That: The order published by Han. Judge Polk-Failla on October 3,2016 struck many of my
 actions against individuals from my complaint on the basis(es) of statute of limitations and facial
 insufficiency. I ask the Appellant panel to reconsider if the version dmy complaint worked on
 was the appropriate one as I filed a further complaint after the one considered that I had
  permission to file. Because of a clerical error the incorrect complaintwas passed to the newly
  assigned judge presiding over my case. I have entered a separate-appeal of that order and now

  discuss the orders given to me in consideration of the incorrect com)iaint being used as the

  working document. Each of those orders is considered here and f request that the Appellant

  panel reverse Han. Judge Polk-Failla's orders commanding me to sfrik:e certain individuals and

  actions from my complaint. In Summary the reasons I will ask for reversal of these orders as I

  perfect my appeal are: 1. Han Judge Polk-Failla's order dated October 3. 2016 discusses the
                Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 7 of 21




incorrect pleading document. I had received permission to file an amended complaint on or

around September 15, 2016 and instead a version of my pleadings turned' in before I knew the

extension was granted was worked on by Hon Judge Polk-Failla. I request that the complaint

filed on 9/16/2016 be considered as the operative pleading/ document the case wiiJ proceed

with and that the Appeals Court assert the complaint filed on or about September 1, 2016 no

longer be the operative pleading/document the case will proceed with. I haw already filed a

Notice of Appeal in an attempt to cure this clerical error.


    •           2. The order dated October 3, 2016 by Hon Judge Polk-Failla strikes from        my
                complaint actions I allege resulted from wrongful arrest, malicious prosecutions, various
                Section 1983 Civil Rights infringements and other constitutional violations arising from
                arrests and malicious criminal proceedings that were dismissed and sealed by Hon.
                Judge Tandra Dawson of NY Supreme Court on or about July 25, 2012 as untimely and
                beyond the statute of limitations. As my original filing was on July 24, 2015, three years
                to the day after the charges were dismissed against me, these acti0ns were filed
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                 to a Pro Se complaint if the articulation of actions by the complainant is insufficient. I I
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                 danger has felled my life as a result of these willful and malicious actions undertaken by
                 members of the NYPD and Manhattan District Attorney's office. ln particular the affidavit
                 I procured on December 15, 2015 by former NYPD Lt. Mark C Larocca states clearly that
                 the MDAO instructed the NYPD to not assist me, to deny taking any complaints that I
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     Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 8 of 21




     tolling on all Section 1983 claims begins when the defendant learned oftbe damages
     enacted on them. All parties related to the conspiracy to create danger for me should
     not be struck from my complaint as the statute of limitations began to toll at earliest on
     December 15, 2015 when I received Lt. LaRocca's affidavit stating that tbe Manhattan
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      order dated 7/26/16.
•    5. As I have repeatedly asked the the Mayor's office to combat DV, Former
     Commissioner of Domestic Violence Rose Pierre Louis, and Inspector O.be of the 28th
     Precinct to remove me from their twitter block list I have given them adequate notice of
     the constitutional harm. I have attached as exhibit to my filings to the Federal Court the
     311 reports I made to the City of New York complaining about both Inspector Obe, the
     Commanding Officer of the 28th precinct, and RPL, the former CommisSioner of
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      Pierre-Louis, former Commissioner of the Mayor's Office to Combat Domestic \Coolence,
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       to act on information indicating that unconstitutional acts were occurring.. Additionally I
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       orally at a panel discussion held at Reverend Que English's Bronx Christian Fellowship
       Church on East Gunhill road in May of 2016 that I was still blocked by her:offi:ca This
        proceeding was video-taped and witnessed by dozens of members of the Mayors Clergy
        Round-table. Still to date the unconstitutional blocking has continued. I also pe11ned a
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    " 6. For actions related to my unlawful arrest by P.O. Matthew Winters and the inactions
        taken by P.O.s Relf and Maladano: on 9/27/2011 the tolling began whEII appeal was
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         P.O. Winters, Relf, Maladano et al were excised off my complaint as pertlao. JUdge
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         favor: which was on or about February 23, 2016. Additionally all three ofticers
Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 9 of 21




participated in creating state danger against me and should remain on the complaint as
part of this conspiracy. I had no reason to know of my injuries until I won the appeal of
conviction. I am a layperson and not a lawyer. I did not know if I was guilty of disorderly
conduct until the NYS appellate panel affirmed my suspicions. I did not know it was
illegal to say "fuck you" to a police officer, I did not know it was illegal to cry and protest
lack of police action. How would I know? I had never studied the NY State penal code
nor had I read the NYPD handbook until the summer of 2015.
      Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 10 of 21




                      UNITED STATES DISTRICT COURT
                                for the
           --------------- DISTIUCTOF __________________




                      Plaintiff




                      AFFIDAVIT ACCOMPANYING MOTION
                 FOR PERMISSION TO APPEAL IN FORMA PAUPERIS


Affidavit nn Support of Motion                                 Instructions

  I swear or affirm under penalty of perjury                     Complete all questions in this application and
that, because of my poverty, I cannot prepay                   then sign it Do not leave any blanks: if the
the docket fees of my appeal or post a bond for                answer to a question is "0," "none," or "oot
them. I believe I am entitled to redress. I swear              applicable (N/A)," write that response. I:fyou
or affirm under penalty of perjury under United                need more space to answer a question or to
 States laws that my answers on this form are                  explain your answer, attach a separate sheet of
true and correct. (28 U.S.C. § 1746; 18 U.S.C.                 paper identified with your name, your case's
 § 1621.)                                                       docket number, and the question number.


 Signed:                                                          Date:



My issues on appeal are:   _S&. . : =: .~.k_. .: :'= - .: .~. : : : : !th~'\. . !,_c. . .1!t~f\;: :. :~ ·----\-f--·~~-rt..~.
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                                                                                                                            ").: . .·_·-----


 1.     For both you and your spouse estimate the average amount of money received from each
        of the following sources during the past 12 months. Acijust any amount that was received
        weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate. Use
        gross amounts, that is, amounts before any deductions for taxes or otherwise.
        Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 11 of 21




Income source                                    Average monthly                 Amount expected next
                                                 amount during the past          month
                                                                                                        .,
                                                 12 months
                                                 You                Spouse       You          Spouse
Employment                                       $                  $            $            $
Self-employment                                  $                  $             $           $
Income from real property (such as               $                  $             $           $
rental income)
Interest and dividends                           $                  $             $           $
Gifts                                            $~                 $             $           $
Alimony                                          $                  $             $           $
Child support                                    $                  $             $           $
Retirement (such as social security,              $                 $             $           $
pensions, annuities, insurance)
 Disability (such as social security,             $                 $             $           $
 insurance payments)
 Unemployment payments                            $                 $             $            $
 Public-assistance (such as welfare)              $140~              $               $            $
 Oth~r (specify):   t              ~-\O.rrJ1 S
                        o-"'>e;\
  \tK~ \\a\1 '5 \"- ~ <.~ s' "i \-"" '""-
                                                     $   t\<.) ~~       $            $            $


     Total monthly i~come:                           $1) \"\~           $             s           $




2.       List your employment history for the past two years, most recent employer first. (Gross
         monthly pay is before taxes or other deductions.)



  Employer                 Address                                      Dates of employment




                                                                                              $
          Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 12 of 21




3.        List your spouse's employment history for the past two years, most recent employer first.
          (Gross monthly pay is before taxes or other deductions.)

 Employer                  Address                                 Dates of employment         Gross
                                                                                               monthly pay

              \\,, tI 1~ [\                                                                    $
                         1'1
                                                                                               $
                                                                                               $


4.        How much cash do you and your spouse have? $                 0
          Below, state any money you or your spouse have in bank accotm/S or in any other
          financial institution.

     Financial Institution                   Type of Account       Amount you hal'e     Amount your
                                                                                        spouse has

                    \~\ ( -~
                     '\\       ,   ,   \j.
                                                                   $                     $
                                                                   $                     $
                                                                   $                     $

 Ifyou are a prisoner seeking to appeal a judgment in a civil action orproceeding,you must
 attach a statement certified by the appropriate institutional officer sbmving all receipts,
 expenditures, and balances during the last six months in your institJdional accounts. Ifyou
 have multiple accounts, perhaps because you have been in multipleilsstitutions, attach one
 certified statement of each account.

     5.    List the assets, and their values, which you own or your spouse owns. Do not list clothing
           and ordinary household.furnishings.

      Home                                     Other real estate             Motor vehicle #1
      (Value)$                                 (Value)$                      (Value)$
                                                                             Make and year:

             ~ (~                                                            Model:
                                                                             Regislration #:
         Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 13 of 21




Motor vehicle #2                            Other assets                   Other assets
(Value)$                                    (Value)$                       (Value)$
Make and year:                         J. I A
Model:                                 IV    I   t1
Registration #:


6.        State every person, business, or organization owing you or your spouse money, and the
          amount owed.

 Person owing you or your spouse                      Amount owed to you       Amount owed to your
 money                                                                         spouse
                                                      $                        $

               l r 1-A
               \\j       f
                                                      $                        $
                             1\                       $                        $
                                                      $                        $


7.         State the persons who rely on you or your spouse for support.

     Name [or, if under 18, initials only]                          Relationship                Age

                     L   I   I    A

                     Nf          1\_
            Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 14 of 21




8.          Estimate the average monthly expenses ofyou and your family. Show sepaniely the
            amounts paid by your spouse. Adjust any payments that are made weekly, biweekly,
            quarterly, semiannually, or annually to show the monthly rate.

                                                                        Yon                                  Ym.r Spouse


                                                                        ~oa~
 Rent or home-mortgage payment (including lot rented for                                                     $
 mobile home)
        Are real estate taxes included?   DYes ONo
        Is property insurance included?   0 Yes 0No
                                                                                                         '
     Utilities (electricity, heating fuel, water, sewer, and telephone) '$           {)                      $
     Home maintenance (repairs and upkeep)                              $             f)                     $
     Food                                                               $:   qo:J                            :s
     Clothing                                                            $                                   ~s


     Laundry and dry-cleaning                                            $           5'0                     $
     Medical and dental expenses                                         $           Q,o                      s
                                                                                     <#\---
     Transportation (not including motor vehicle payments)               $ bftl"\
                                                                                 '   ---::
                                                                                                     -        $
     Recreation, entertainment, newspapers, magazines, etc.              $             0                         $
     Insurance (not deducted from wages or included in mortgage payments)
             Homeowner's or renter's:                                    $            0                          s
             Life:                                                      '$            0                          s
             Health:                                                     $            <J                         $
             Motor vehicle:                                                  $        <J                         s
                                                                                      <}
              Other:                                                         $                                   $
      Taxes (not deducted from wages or included in mortgage                 $        ()                         s
      payments) (specify):
      Installment payments                                                             /1
                                                                                      u
              Motor Vehicle:                                                 $         ,..,.._
                                                                                      ._,
                                                                                                                  s
              Credit card (name):                                            s                                    $
                                                                                        /)
              Department store (name):                                       $               """):                s
                                                                                             v
              Other:                                                         $                                    s
             Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 15 of 21

..

     Alimony, maintenance, and support paid to others                   $\8                   $
     Regular expenses for operation of business, profession, or
     farm (attach detail~d statement)
                                                                        $
                                                                              J               $

     Other (specify): (    'o v v-. \-· '=B' r.y ~~S                    $    1{()             $
                                          \
             Total monthly expenses:                                    $                      $



     9.      Do you expect any major changes to your monthly income or expenses or in your a~ets or
             liabilities during the next 12 months?

                   D No
             t;2fves        If yes, describe on an attached sheet.

           ·-::c ~ 1~ be. "-~Y' \~\'\ t/j" <Avs"' 6¥\; t-j
     I0.      Have you spent- or will you b~eid~- any money for expenses or attorney fees in
              connection with this lawsuit?~Yes UNo

              lfyes,   ho::m~~h0:$             , .L         ~}n\~           crJlO\~~:t..   2._O'.J t ~ _I
                       ._ Jt~\d\1'\1.'\'j l\0f'\~V\\~ i                     - \\                   "-~JO\
      11.     Provide any other information that will help explain why you cannot pay the dockettfees
              for your appeal.




      12.     State the city and state ofyour legal residence

              ~ -~N ~cJr~ 1 ~ QMI \f<Jvl~
               Y.our daytime phone number:
               \l~\J       V1V l ~\ Ll 0
               Your age: ~ <;-       Your years ofschooling:     '2_ 2._
               Last four digits ofyour social-security number:      .
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       Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 16 of 21




Provide a statement that identifies the relevant facts and makes a showing of likely merit as to
each issue you intend to present on appeal. See Local Ru1e 24.1

                      S\B. JX~kJ, f~s ft~-"-~
                           Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 17 of 21

                      UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
         Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                      MOTION INFORMATION STATEMENT

ood<dNumb«(•>,       ~- C. \1- Se)} 1           P                                                          Caption [use short titleJ

Motion for:        ~     ~   ii:b
                                    ~   c:;;:




MOVING A T T O R N E Y : - - - - - - - - - - - - - - OPPOSING A T T O R N E Y : - - - - - - - - - - - - - -
                         [name of attorney, with firm, address, phone number and e-mail]




 Court-Judge/Agency appealed from:      ---'t\~.fJ:...:::J\~1~ \J:. . :~ t.l~ ~{_ " "- - +e. . .; ~;. .n.l-f'~=-. . . . ._- -1 ~ . . ,_~4-\(+-C'.\..~--;
                                                                                                                                              ,         --.-------
 Please c:hec:k appropriate boxes:                                   .              lFOR EMERGENCY MOTIONS, MOTIONS FOR~YS AND
                                                                                    liNJUNCTIONS PENDING APPEAL:
 Has mo~ noti~opposing counsel (required by Local Rule 27.1 ):                      Has request for relief been made below?                DYes E)No
      ~ YesUNo (explain):                           .                               Has this relief been previously sought ib. this Court? DYes    No
                                                                                    Requested return date and explanation of emergency:_ _ _ _ _ _ __
 Opposin~unsel's   position on motioM
         U  UnopposedOOpposed LSflon't Know
 Does opposing counsel i~ to file a response:
         0  Yes G o UlJDon't Know




 Is oral argument on motion requested?              DYes     D No        (requests for oral argument will not necessarily be granted)

 Has argument date of appeal been set?              DYes      ~No        Ifyes,enterdate:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                     Service by: 0CMJECF            ~Othe~ [Attach proofof's~ce]

 !Form T-1080 (rev. 12-13)
 UNITED STATES  COURT OF . 4..PPEALS
                             .
          Case 1:15-cv-05871-KPF      FOR
                                 Document 33THE
                                             FiledSECOND
                                                   11/02/16 CIRCUIT
                                                            Page 18 of 21
CAPTION:


                                                        CERTIFICATE OF SERVICE*

                       v.
                                                        Docket Number:     ~£- C\!         0 ~DT)

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_Personal Delivery                                                      _Federal Express or other
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    Commercial Carrier             • _E-Mail {on consent)


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 Name                           Address                         City            State      Zip Code


 Name                           Address                         City            State      Zip Code


 Name                            Address                         City           State      Zip Code

 *A p~ must serve a. copy of each paper on the other parties, or their counsel, to the appeal or
 proceeding. The Court will reject papers for filing if a certificate of service is not simultaneously
 filed.

 **If different methods of service have been used on different parties, please complete a separate
 certificate of service for each party.




             Today's Date
  Certificate of Service Form {Last Revised 12/2.015)
                    Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 19 of 21



                                     ACKNOWLEDGMENT AND NOTICE OF APPFARANCE




Appearance for (party/designation): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                     DOCKET SHEET ACKNOWLEDGMENT/AMENDMENTS

Caption as indicated is:
Qi2l) Correct
0 Incorrect. See attached caption page with corrections.
     Appellate Designation is:
~Correct
0    Incorrect.   The following parties do not wish to participate in this appeal:
        Parties: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
0    Incorrect. Please change the following parties' designations:
        ~                                                 Correct Desi@ation
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Contact Information for Lead CounseVPro Se Party is:                                                                                              Ui              :<=              rn
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0     Incorrect or Incomplete.    As an e-filer, I have updated my contact information in the PACER "M~e ~AcQinrt" screen.
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                                                         RELATED CASES

 0    This case has not been before this Court previously.
 0    This case has been before this Court previously. The short title, docket number. and citation are:_ _ _ _ _ _ _ __

 0    Matters related to this appeal or involving the same issue have been or presentl.yare before this Court.                                                     The shott. titles,
 docket numbers, and citations are: --------------------------~-----------------------


                                                          CERTIFICATION

 I certify that 0 I am admitted to practice in this Court and, if required by LR 46.l{a)(2), have renewed my admissioa. en
 - - - - - - - - - - - - O R that 0 I applied for admission on                       _                or renewal on
 --------------·· If the Court has not yet admitted me or approved my renewal, I have completed Addend'l.uo A.
 Signature of Lead Counsel of Record: ___________________________________
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 ~ I am a pro se litigant who is not an attorney.            \.}
 O'I am an incarcerated pro se litigant.
              Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 20 of 21



     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT


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    *A party must serve a copy of each paper on the other parties, or their counsel, to the appeal or
    proceeding. The Court will reject papers for filing if a certificate of service is not simultaneously
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    certificate of service for each party.




               Today's Date
     Certificate of Service Fonn (Last Revised 12/2015)
Case 1:15-cv-05871-KPF Document 33 Filed 11/02/16 Page 21 of 21
